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                                                      EXHIBIT LIST OF PLAINTIFFS
      CASE NO. 2:18-cv-00659-JLR
      CASE CAPTION: CALIFORNIA EXAPNDED METALS COMPANY, ET AL., V. JAMES A. KLEIN, ET AL.

EX.       DESCRIPTION                 BATES NO.        WITNESS   STIP.   STIP.   OFFER   REC’D   REFUSED    RULING    COMMENTS
NO.                                                              AUTH.   ADM.                              RESERVED

1     9/6/17 Email from Klein     SAFTI0002505-2507
      to Spears Online fwding
      9/6/17 email from Klein
      to Dave Powers (Anning                                      X       X
      Johnson) re “New Safti-
      Seal replacement for
      BlazeFrame”
2     1/13/17 Email from Klein    SAFTI0002590-2591
      to ClarkDietrich
      (“CDBS”) re email from
      Bob Germek (LB Const.)                                      X       X
      inquiring about
      BlazeFrame not meeting
      UL standards
3     1/2/18 Email chain          SAFTI0002594-2597
      between Klein and
      Michael Gutierrez
      (California Drywall) re
                                                                  X       X
      BlazeFrame products
      provided by CDBS
4     1/5/18 Email from Klein     SAFTI0002620-2621
      to Don Allen (Super Stud)
      re BlazeFrame and UL
                                                                  X       X
      Requirements
5     12/29/17 Email chain        SAFTI0003331-3334
      between Klein and Steve
      Flanagan (Giampolini &
      Co.) re BlazeFrame being
                                                                  X       X
      obsolete and new UL test
      standards
                                   Case 2:18-cv-00659-JLR Document 152 Filed 12/06/19 Page 2 of 29

                                                       EXHIBIT LIST OF PLAINTIFFS
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       CASE CAPTION: CALIFORNIA EXAPNDED METALS COMPANY, ET AL., V. JAMES A. KLEIN, ET AL.
EX.        DESCRIPTION                 BATES NO.        WITNESS   STIP.   STIP.   OFFER   REC’D   REFUSED    RULING    COMMENTS
NO.                                                               AUTH.   ADM.                              RESERVED

6      10/21/17 Email chain        SAFTI0003336
       between Klein and Ashley
       Stevens and Bob Germek
       (LB Const.) re whether
                                                                   X
       BlazeFrame product was
       made by CDBS
7      10/4/17 Email chain         SAFTI0004641-4644
       between Klein and Kelley
       Huss (ICI Colorado) re
       CDBS taking on liability
                                                                   X       X
       for “life safety of their
       current old BlazeFrame”
8      2/1/18 - 2/7/18 Email       SAFTI0005006-5009
       chain between Klein and
       Dave Rohder (Nevell-
       Standard J.V.) and Reza
                                                                   X       X
       Vahabzadeh (KPFF) re
       extra strength backing
9      1/25/18 Email chain         SAFTI0005029-5031
       between Klein and Tyler
       Ryan (Component                                             X       X
       Assembly Systems) re UL
       Requirements
10     11/8/17 Email chain         SAFTI0005037-5039
       between Klein and Tony
       Goulet (Raymond-
       Southern California) re
                                                                   X       X
       UL Requirements and
       BlazeFrame products
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                                                         EXHIBIT LIST OF PLAINTIFFS
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       CASE CAPTION: CALIFORNIA EXAPNDED METALS COMPANY, ET AL., V. JAMES A. KLEIN, ET AL.
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NO.                                                                 AUTH.   ADM.                              RESERVED

11     1/10/18 Email chain           SAFTI0005049-5050
       between Klein and Jesse
       Sahagun (Performance
       Contracting) re additional                                    X       X
       foam for BlazeFrame
       products to be UL
       compliant
12     10/17/18 – 11/3/17 Email      SAFTI0005058-5062
       chain between Klein and
       Brent Johnson (Firewise
       Consultants) re CDBS and
                                                                     X       X
       CEMCO products not
       meeting UL standards
13     12/27/17 Email chain          SAFTI0005096-5097
       between Klein and Frank
       Joyce (Kitchell) re selling
       patents and trade names
                                                                     X       X
       associated with
       BlazeFrame
14     9/27/17 – 9/29/19 Email       SAFTI0005136-5142
       chain between Klein, Rick
       Amundson (Spears
       Construction Supply), and
       Kurt Mehrer (Mehrer
                                                                     X       X
       Drywall) re Safti-Seal
       being one of four systems
       to pass UL 2079 v5
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                                                       EXHIBIT LIST OF PLAINTIFFS
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       CASE CAPTION: CALIFORNIA EXAPNDED METALS COMPANY, ET AL., V. JAMES A. KLEIN, ET AL.
EX.        DESCRIPTION                 BATES NO.        WITNESS   STIP.   STIP.   OFFER   REC’D   REFUSED    RULING    COMMENTS
NO.                                                               AUTH.   ADM.                              RESERVED

15     2/1/18 Email chain          SAFTI0005214-5216
       between Klein and Brad
       Hamilton (GTS Interior
       Supply) re whether Safti-                                   X       X
       Seal makes product with
       similar fire-rating as
       BlazeFrame
16     1/24/18 – 1/26/18 Email     SAFTI0005249-5252
       chain between Klein and
       Tyler Ryan (Component
       Assembly) re UL                                             X       X
       standards and Ken
       Yakopcic’s (Marino)
       email
17     9/14/17 Email chain         SAFTI0005270-5271
       between Klein and Corey
       Rice (Performance
       Contracting) re Head of
       Wall design, HW-D-0696,
                                                                   X       X
       and Safti-Seal being the
       only UL v5 compliant
       prod.
18     10/6/17 Email chain         SAFTI0005341-5342
       between Klein and Nancy
       Bradshaw (Allied
       Building Products) re
                                                                   X       X
       name change from
       BlazeFrame to Safti-Seal
                                      Case 2:18-cv-00659-JLR Document 152 Filed 12/06/19 Page 5 of 29

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       CASE CAPTION: CALIFORNIA EXAPNDED METALS COMPANY, ET AL., V. JAMES A. KLEIN, ET AL.
EX.        DESCRIPTION                    BATES NO.        WITNESS   STIP.   STIP.   OFFER   REC’D   REFUSED    RULING    COMMENTS
NO.                                                                  AUTH.   ADM.                              RESERVED

19     9/25/17 – 9/26/17 Email        SAFTI0005391-5392
       chain between Klein and
       Don Allen (Super Stud
       Building Products) re
                                                                      X       X
       changes from BlazeFrame
       to Safti-Seal
20     10/31/17 Email chain           SAFTI0005397-5398
       between Klein and Randy
       Clark (Rectorseal) re
       change from BlazeFrame
                                                                      X       X
       to Safti-Seal due to sale of
       BlazeFrame trademark
21     9/6/17 – 9/18/17 Email         SAFTI0005403-5404
       chain between Klein and
       Tim Farrell (Anning-
       Johnson Co.) re UL                                             X       X
       testing standards and
       Safti-Seal replacement for
       BlazeFrame
22     9/6/17 – 9/14/17 Email         SAFTI0005405-5408
       chain between Klein and
       Dave Powers (Anning-
       Johnson Co.) re New
                                                                      X       X
       Safti-Seal replacement for
       BlazeFrame
23     1/2/18 Email chain             SAFTI0005413-5415
       between Klein and Joe
       Loeschnig (Raymond-San                                         X       X
       Diego) re New UL
       Systems for HOW
                                  Case 2:18-cv-00659-JLR Document 152 Filed 12/06/19 Page 6 of 29

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       CASE CAPTION: CALIFORNIA EXAPNDED METALS COMPANY, ET AL., V. JAMES A. KLEIN, ET AL.
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NO.                                                              AUTH.   ADM.                              RESERVED

24     12/27/17 Email chain       SAFTI0005420-5421
       between Klein and Chris
       Harder (Anning-Johnson
       Co.) re difference of                                      X       X
       adding new “thermal
       layer” to pass new UL
       standards
25     1/2/18 Email chain         SAFTI0005475-5481
       between Klein and Ron
       Lindow (Flad Architects)
       re whether Safti-Seal is
       name change or new
                                                                  X       X
       company and if
       BlazeFrame meets UL
       standards
26     2/22/18 Email chain        SAFTI0005574-5575
       between Klein and Shena
       Meyer (Westside Building
       Material) re BlazeFrame                                    X       X
       requiring additional
       material to pass UL v5
       standards
27     August 2017 letter from    SAFTI0005576
       Safti-Seal re UL V.5                                       X       X
       updated certification
28     1/24/18 Email chain        SAFTI0005590-5592
       between Klein and Evan
       Powers (Allied Const.
       Serv.) re product
                                                                  X       X
       advancement and name
       change
                                   Case 2:18-cv-00659-JLR Document 152 Filed 12/06/19 Page 7 of 29

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       CASE CAPTION: CALIFORNIA EXAPNDED METALS COMPANY, ET AL., V. JAMES A. KLEIN, ET AL.
EX.        DESCRIPTION                 BATES NO.        WITNESS   STIP.   STIP.   OFFER   REC’D   REFUSED    RULING    COMMENTS
NO.                                                               AUTH.   ADM.                              RESERVED

29     2/14/18 Email chain         SAFTI0005718-5720
       between Jim Klein and
       Don Allen (Super Stud
       Building Projects) re
                                                                   X       X
       BlazeFrame products
       supplied by CDBS
30     11/30/17 Email chain        SAFTI0005725-5729
       between Klein and Lee
       Zaretzky (Ronsco) re UL
       Approvals and sale of
                                                                   X       X
       BlazeFrame to
       CDBS/CEMCO
31     11/7/17 – 11/30/17 Email    SAFTI0005802-5807
       chain between Klein and
       James Smyser (UL) re
       “Shaft Wall updated
                                                                   X       X
       support HW-D-0496,
       0504, 0559, 0631”
32     2/13/18 – 2/23/18 Email     SAFTI0005825-5827
       chain between Klein and
       Bernie Ferland (CISI) re
       Safti-Seal products and
                                                                   X       X
       BlazeFrame requirements
       for UL compliance
33     12/4/17 – 12/7/17 Email     SAFTI0005848-5850
       chain between Klein and
       Brett Betters (Standard                                     X       X
       Drywall) re UL and “first
       generation BlazeFrame”
                                    Case 2:18-cv-00659-JLR Document 152 Filed 12/06/19 Page 8 of 29

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NO.                                                                AUTH.   ADM.                              RESERVED

34     12/22/17 – 1/3/18 Email      SAFTI0005951-5953
       chain between Klein and
       Yanwei Cen (Rectorseal)
       re Safti-Seal, BlazeFrame,
                                                                    X       X
       and adding new “thermal
       layer”
35     2/9/18 Email from Klein      SAFTI0006058
       to Rick Amundson                                             X       X
       (Spears) re STI flappy cap
36     2/13/18 Email from Klein     SAFTI0006109-6110
       to Bernie (CISI) re Safti-
       Seal products and                                            X       X
       BlazeFrame requirements
       to meet UL standards
37     August 2017 Safti-Seal       SAFTI0006161
       letter discussing UL v.5                                     X       X
       certification
38     2/20/18 Email from Klein     SAFTI0006702
       to Rick Amundson
       (Spears) re UL2079 fire
       test and effects of UL
                                                                    X
       standards on “other
       crappy products”
39     6/18/19 List of Safti-Seal   SAFTI0007188-7243
       sales by customer detail
                                                                    X       X
40     List of Safti-Seal
       customers, including date
       of first sale and date of
                                                                    X
       latest sale
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EX.        DESCRIPTION                BATES NO.      WITNESS   STIP.   STIP.   OFFER   REC’D   REFUSED    RULING    COMMENTS
NO.                                                            AUTH.   ADM.                              RESERVED

41     Excel spreadsheet of        CDWA_005566
       communications regarding
       Safti-Seal products,
       including call notes and
       contacts
42     (Reserved)


43     7/3/19 Plaintiff’s Notice
       of Deposition of                                          X      X
       Defendant James Klein
44     7/3/19 Plaintiff’s Notice
       of Deposition of
       Defendant BlazeFrame                                      X      X
       pursuant to FRCP
       30(b)(6)
45     7/3/19 Plaintiff’s Notice
       of Deposition of
       Defendant Safti-Seal                                      X      X
       pursuant to FRCP
       30(b)(6)
46     United States Patent
       Number 7,681,365 to
       Klein entitled “Head-of-
       Wall Fireblock Systems
                                                                 X      X
       and Related Wall
       Assemblies”
47     United States Patent
       Number 7,814,718 to
       Klein entitled “Head-of-
                                                                 X      X
       Wall Fireblocks”
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EX.        DESCRIPTION               BATES NO.      WITNESS   STIP.   STIP.   OFFER   REC’D   REFUSED    RULING    COMMENTS
NO.                                                           AUTH.   ADM.                              RESERVED

48     United States Patent
       Number 8,136,314 to
       Klein entitled “Head-of-
                                                                X      X
       Wall Fireblocks”
49     United States Patent
       Number 8,151,526 to
       Klein entitled “Head-of-
       Wall Fireblock Systems
                                                                X      X
       and Related Wall
       Assemblies”
50     8/2/18 Joint Systems
       XHBN, XHBN7, System
       No. HW-D-0498 - UL
                                                                X
       Product Spec
51     (Reserved)


52     Expert Report of Minh P.
       Doan

53     7/15/19 Rebuttal Expert
       Report of Daniel Lindsay
                                                                X      X
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EX.        DESCRIPTION                  BATES NO.      WITNESS   STIP.   STIP.   OFFER   REC’D   REFUSED    RULING    COMMENTS
NO.                                                              AUTH.   ADM.                              RESERVED

54     Civil Minutes of Hearing
       held 4/1/16 re Motions to
       Enforce Settlement
       Agreement between
       CEMCO, CDBS, Klein,
       and BlazeFrame from
       CEMCO v. ClarkDietrich,                                     X
       Klein, and BlazeFrame,
       Case No. CV12-10791;
       and Transcript of
       Settlement Conf. held
       10/2/15, the “Settlement
       Agreement”
55     Order granting
       Preliminary Injunction
       entered by Judge
       Pregerson against Klein
       and BlazeFrame from                                         X
       CEMCO and
       ClarkDietrich v. Klein and
       BlazeFrame, Case No. CV
       16-cv-5968
56     10/16/16 Download of
       documents from
       BlazeFrame’s website
       identifying the patents and
       intellectual property that
                                                                   X
       cover the products
       Defendant BlazeFrame
       previously sold
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57     Screenshots from a video
       showing the composition
       of the Safti-Seal “strip”
       and the installation of the                                 X
       strip, and installation and
       building of head-of-wall
       assembly
58     Photographs from Safti-
       Seal Website showing
       Safti-Seal “strip” used on
                                                                   X
       job sites
59     United States Patent
       Number 6,207,085 to
       Ackerman entitled “Heat                                     X
       Expandable
       Compositions”
60     Excerpts of 4/2/19
       discovery responses
       entitled “Defendant Safti-
       Seal, Inc.’s Objections
       and Responses to Plaintiff
       CEMCO’s Amended First
       Set of Interrogatories
       (Nos. 1-2, 6-9, 17)”
61     Compilation of Marketing
       Materials for the Safti-
       Seal Products from
                                                                   X
       www.saftiseal.com
62     4/22/19 discovery
       requests entitled
       “Defendants’ First Set of                                   X
       Requests for Production to
       Plaintiffs”
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NO.                                                             AUTH.   ADM.                              RESERVED

63     United States Patent
       Number 7,866,108 to
       Klein entitled “Head-of-
       Wall Fireblock Systems
                                                                  X
       and Related Wall
       Assemblies”
64     United States Patent
       Number 8,056,293 to
       Klein entitled “Head-of-
       Wall Fireblock Systems
                                                                  X
       and Related Wall
       Assemblies”
65     Product Flyers for Safti-
       Seal products, including
       the Safti-Frame “DSL”
                                                                  X
       and “Safti-Strip”
66     Excerpts of 4/2/19
       discovery responses
       entitled “Defendant Safti-
       Seal, Inc.’s Objections
       and Responses to Plaintiff
       CEMCO’s Amended First
       Set of Interrogatories
       (Nos. 14- 17)”
67     8/13/18 discovery request
       response entitled
       “Defendant Safti-Seal,
       Inc.’s Objections and
       Responses to Plaintiffs
                                                                  X
        First Set of Requests for
       Documents and Things
       (Nos. 1-50)”
                                   Case 2:18-cv-00659-JLR Document 152 Filed 12/06/19 Page 14 of 29

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       CASE CAPTION: CALIFORNIA EXAPNDED METALS COMPANY, ET AL., V. JAMES A. KLEIN, ET AL.
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NO.                                                            AUTH.   ADM.                              RESERVED

68     (Reserved)


69     Chart created by Trojan
       Law Offices with
       drawings of the accused
       Safti-Seal products from
       the Safti-Seal website
       (www.saftiseal.com)
70     “Business Information”
       regarding Safti-Seal
       obtained from the
       Washington Secretary of
                                                                 X
       State website
       (ccfs.sos.wa.gov)
71     7/25/19 Declaration of
       Eva Ackerman in
       response to 7/9/19
       Subpoena to RectorSeal
72     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0495
73     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0496
74     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0498
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NO.                                                            AUTH.   ADM.                              RESERVED

75     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0499
76     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0502
77     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0503
78     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0504
79     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0505
80     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0506
81     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0512
82     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0513
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EX.        DESCRIPTION                BATES NO.      WITNESS   STIP.   STIP.   OFFER   REC’D   REFUSED    RULING    COMMENTS
NO.                                                            AUTH.   ADM.                              RESERVED

83     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0543
84     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0558
85     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0559
86     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0597
87     UL certification standard
       and UL Product iQ for
       Joint Systems
                                                                 X      X
       XHBN.HW-D-0631
88     UL certification standard
       and UL Product iQ for                                     X      X
       Joint Systems BW-S-0021
89     UL certification standard
       and UL Product iQ for
       Joint Systems WW-S-
                                                                 X      X
       0055
90     Marketing Video from
       Safti-Seal explaining
       Safti-Seal product
                                                                 X      X
       installation
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       CASE CAPTION: CALIFORNIA EXAPNDED METALS COMPANY, ET AL., V. JAMES A. KLEIN, ET AL.
EX.        DESCRIPTION                   BATES NO.      WITNESS   STIP.   STIP.   OFFER   REC’D   REFUSED    RULING    COMMENTS
NO.                                                               AUTH.   ADM.                              RESERVED

91     Civil Minutes of Hearing
       held 10/2/15, settlement
       reached in CEMCO v.
       ClarkDietrich, Klein, and                                    X
       BlazeFrame, Case No.
       CV12-10791 before Judge
       Pregerson
92     Settlement Agreement
       between CEMCO,
       ClarkDietrich, Jim Klein,
       and BlazeFrame from
       CEMCO and
                                                                    X
       ClarkDietrich v. Klein
       and BlazeFrame, Case No.
       CV 16-cv-5968
93     Email from Klein to Klein
       re year end update,
       discussing BlazeFrame’s
       sale for “life safety design                                 X      X
       considerations” and Safti-
       Seal products meeting
       current UL Standards
94     CDBS’s Sales and Profits
       of BlazeFrame Products
       practicing the Patents-in-
       Suit (Jan. 2016 – Apr.
       2019) and Average
       revenue and net realizable                                   X
       value per foot of
       BlazeFrame products
       practicing the Patents-in-
       Suit (Sep. 2017 – Mar.
       2019)
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EX.        DESCRIPTION                  BATES NO.      WITNESS   STIP.   STIP.   OFFER   REC’D   REFUSED    RULING    COMMENTS
NO.                                                              AUTH.   ADM.                              RESERVED

95     Safti-Seal’s monthly
       revenue of Safti-Frame
       and Safti-Strip products,
       percentages of total
       monthly revenues for said                                   X      X
       products, and Safti-Seal’s
       monthly revenue of
       Accused Products (Sep.
       2017 – Mar. 2019)
96     Safti-Seal’s footage sold
       and revenue per foot by
       product, and Safti-Seal’s
       revenues and unit sales by
                                                                   X      X
       product (Sep. 1, 2017 –
       Mar. 31, 2019)
97     BlazeFrame products
       CDBS would have sold in
       the absence of Safti-Seal’s
       actual Safti-Frame sales
98     Plaintiffs’ Lost Profit
       Damages from Safti-
       Seal’s Accused Safti-
       Frame sales (Sep. 1, 2017
       – Mar. 31, 2019)
99     Summary of Actual Steel
       Headers Sold by CDBS
       and BlazeFrame Products
       CDBS Would Have Sold
       Absent Safti-Seal's
       Infringement in Seven
       Projects Where Safti-Strip
       Were Sold
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NO.                                                             AUTH.   ADM.                              RESERVED

100   Plaintiffs’ Lost Profit
      Damages from Safti-
      Seal’s Accused Safti-Strip
      Sales (Sep. 1, 2017 – Mar.
      31, 2019)
101   Plaintiffs’ Royalty
      Damages on Safti-Seal’s
      Accused Product Sales for
      which Lost Profits are not
      Claimed (Sep. 1, 2017 –
      Mar. 31, 2019)
102   Summary of Plaintiffs’
      Total Lost Profit Damages
      (Sep. 1, 2017 – Mar. 31,
      2019)
103   Comparison of Pricing
      Between Use of "Peel and
      Stick" Method and Use of
      BlazeFrame Products for
      Two-Sided Applications
      and for One-Sided
      Applications
104   Pricing Comparison
      between Safti-Frame and
      BlazeFrame products and
      Average price per foot of
      BlazeFrame products
      CDBS would have sold in
      the absence of Safti-Seal’s
      Sales of Safti-Frame
      products (Sep. 2017 –
      Mar. 2019)
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NO.                                                                 AUTH.   ADM.                              RESERVED

105   Summary of Plaintiffs’
      Total Reasonable Royalty
      Damages (Sep. 1, 2017 –
      Mar. 31, 2019)
106   Safti-Seal Profit and Loss    SAFTI0007244-7245
      (dated July 1, 2019)                                           X       X

107   Defendant Safti-Seal,
      Inc.’s Supplemental
      Objections and Responses
      to Plaintiff CEMCO’s
      Amended First Set of
      Interrogatories (dated July
      8, 2019)
108   Safti-Sales Sales by
      Customer Detail, dated
      June 18, 2019



109   Anning-Johnson Material       Safti 0004-0000587
      Order

110   Email chain between           SAFTI0004000-4001
      Klein and Raul Martinez       SAFTI0004026-4027                X       X
      plus attachments              SAFTI0004031-4032
111   SaftiSeal Sales by Item
      Summary

112   Allied Building Products      Safti 004-0000751
      Purchase Order                                                 X       X
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NO.                                                              AUTH.   ADM.                              RESERVED

113   (Reserved)


114   Safti-Seal Complete Price   SAFTI0005166-5186
      List – 2018                                                 X       X

115   AC23 Installation and       SAFTI0006689
      Manufacturer                                                X       X
      Recommendations
116   BlazeFrame Sales Data       CDWA_008816.xlsx
      (January 2016 – April
      2019); (Jan 16 - Apr 19
      BlazeFrame sales.xlsx.)
117   SAFTI0007435 -              SAFTI0007435.xlsx
      AEO.xlsx                                                    X       X

118   License and                 CDWA_005592-5668
      Commercialization
      Agreement between
      BlazeFrame and CDBS
      dated January 13, 2012
119   June 25, 2017 Agreement     CDWA_008848-8856
      among CEMCO, Klein,
      CDBS, and BlazeFrame
                                                                  X
      Industries
120   Dodge Report dated May      CDWA_008678.xlsx
      17, 2019                                                    X       X

121   Email from Tim Farrell to   SAFTI0004688-4691
      Jim Klein RE: “DLR L1 –
      Suite 106/206” dated
                                                                  X       X
      October 27, 2017
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122   Email from Tim Farrell of   SAFTI0002000-2001
      Anning-Johnson to Jim
      Klein RE: “DLR L1 –
      Suite 106/206 –Safti-Seal
                                                                      X       X
      Purchase Order 001”
      dated October 27, 2017
123   Anning-Johnson Purchase     SAFTI0002010
      Order PO-01 Safti-Seal
      Fire Track dated October
                                                                      X
      17, 2017
124   Email chain between         Safti 004-0000589-591
      Louis Farina of Anning-
      Johnson and Jim Klein
      RE: “Anning Johnson
                                                                      X       X
      Order D-7348-003” dated
      April 5, 2018
125   Standard Quote,             CDWA_008695-8698
      ClarkDietrich Building
      Systems, Quote #                                                X
      1310658, dated April 16,
      2018.
126   Standard Quote,             CDWA_008710-8714
      ClarkDietrich Building
      Systems, Quote #                                                X
      1312615, dated April 25,
      2018
127   Standard Quote,             CDWA_005572-5576
      ClarkDietrich Building
      Systems, Quote #                                                X
      1304454, dated March 15,
      2018
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NO.                                                                 AUTH.   ADM.                              RESERVED

128   Standard Quote,             CDWA_005577-5581
      ClarkDietrich Building
      Systems, Quote #                                               X
      1323587, dated July 9,
      2018
129   (Reserved)


130   Standard Quote,             CDWA_008715-8719
      ClarkDietrich Building
      Systems, Quote #                                               X
      1338297, dated October
      19, 2018
131   Price Agreement,            CDWA_008699-8703
      ClarkDietrich Building
      Systems, ID # 1347089,
                                                                     X
      dated January 2, 2019
132   Standard Quote,             CDWA_005582-5586
      ClarkDietrich Building
      Systems, Quote #                                               X
      1351425, dated January
      31, 2019
133   Standard Quote,             CDWA_008704-8709
      ClarkDietrich Building
      Systems, Quote #                                               X
      1355253, dated February
      27, 2019
134   Safti-Seal Sales Data       Safti 021-00000001-2
      dated November 27, 2018                                        X

135   ClarkDietrich Distributor   CDWA_008888-8903
      Pricing Sheet for West                                         X
      Region
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136   ClarkDietrich’s Royalty     CDWA_005731.xlsx
      Reports of Royalties on
      BlazeFrame Products Paid
      to CEMCO (June 26,
      2017 – April 30, 2019)
                                                                  X       X
      (Blazeframe Royalty
      Summary June 25, 2017
      to April 30 2019.xlsx.)
137   Standard Quote by           CDWA_005567-5571
      ClarkDietrich Building
      Systems for Component
      Assembly (Contractor),
      #3027 BMV LVL Your
                                                                  X
      Yard, NJ (Job Name and
      Location) dated July 17,
      2018
138   (Reserved)


139   Email from Gregg Stahl to   CDWA_016431-16432
      Keith Johnson RE: “Safti-
      Seal samples” dated
                                                                  X       X
      March 18, 2019
140   7/9/19 Subpoena for
      Testimony and Production
      of Documents filed
      against RectorSeal, LLC
      by CDBS
141   Safti-Seal sales data for
      total accused sales from
      Sept. 1, 2017 through
      Nov. 11, 2019 (produced
      11/12/19)
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142   Patent Assignment of six
      patents executed 4/5/2016
      from BlazeFrame
      Industries to CEMCO
143   Rectorseal Metacaulk®
      Brochure showing patent
      marking of Ackerman
      Patent (6,207,085) –
      marking on page 11
144   10/31/17 Email from Eric    SAFTI0001865
      Crist to Klein re request   SAFTI0001944-1950
      for instructions or
      guidelines on purchasing
      and applying tape product
      and attachment re
      Firestopping guide for
      Building K repair in Ft.
      Meade
145   (Reserved)
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146   10/31/17 email from Klein       SAFTI0004546-4547
      responding to Eric Crist re     SAFTI0004585-4586
      attached installation           SAFTI0004577
      guidelines for Safti-Seal
      products and attachments
      regarding Safti-Seal
      installation/training
      recommendations and
      certification of material
      knowledge, systems, and
      installation
147   (Reserved)




148   10/31/17 email chain            SAFTI0004559-4561
      between Klein and Eric          SAFTI0004583
      Crist re certification letter
      and instructions for how
      to use Safti-Seal products
      and attachment regarding
      certification of material
      knowledge, systems, and
      installation signed by
      Klein
149   (Reserved)
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150   Claim Construction Order   Docket #98
      from this case filed
      4/17/2019



151   Amended Order on Cross-    Docket #135
      Motions for Summary
      Judgment from this case
      filed 11/22/19

152   Order on Plaintiffs’       Docket #134
      Motion for Clarification
      from this case filed
      11/22/19

153   Safti-Seal Product Sales
      Data from 7/26/19 to
      12/1/19



154   SAFTI0007467.xslx          SAFTI0007467.xslx

                                                                 X       X


155   CDBS and BlazeFrame        CDWA_017245.xlsx
      updated sales data; Jan
      2016 – Oct 2019.
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156   List of Safti-Seal sales by
      customer detail from
      6/21/19 to 7/25/19
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                                      1                                      CERTIFICATE OF SERVICE
                                      2
                                                  I hereby certify that on the 6th day of December 2019, I caused to have electronically filed
                                      3
                                          the foregoing with the Clerk of the Court using the CM/ECF system which will send notification
                                      4
                                          of such filing to the following:
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                                     18                                                 by

                                     19                                                 /s/ R. Joseph Trojan
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                                                                                        9250 Wilshire Blvd.
                                     21                                                 Beverly Hills, CA
                                                                                        Attorney for Plaintiff,
                                     22                                                 CALIFORNIA EXPANDED
                                                                                        METAL PRODUCTS COMPANY
                                     23
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